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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 NETWORK DATA ROOMS, LLC,                                           :
                                              Plaintiff,            :
                                                                    :   22 Civ. 2299 (LGS)
                            -against-                               :
                                                                    :        ORDER__
 SAULREALISM LLC, et al.,                                           :
                                              Defendants.           :
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                                                                    X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by Order dated August 16, 2022, an evidentiary hearing is scheduled for

September 20, 2022, at 2:00 P.M. It is hereby

        ORDERED, that due to technology issues, the hearing is adjourned to October 27, 2022,

at 2:00 P.M., in Courtroom 1106 of the United States District Court for the Southern District of

New York at 40 Foley Square, New York, New York.

Dated: September 19, 2022
       New York, New York
